Case 1:99-cV-01031-.]DB-egb Document 47 Filed 07/06/05 Page 1 of 2 Page|D 69

 

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IN THE UNITED STATES DISTRICT CoURT -~<.),4 //,/;/ _E>/

FOR THE WESTERN DISTRICT OF TENNESSEE ` ~.5 " "}/1

WESTERN DIVISION .
ADRIAN M. PATE, a minor )
suing by next friend and parent, )
MELISSA R. PATE, )
)
Plaintiff, )
)

vs. ) NO.: 99-1031 B/An

)
WILLIAM B. RAIFORD III and )
MERKEL & COCKE, a Professional )
Association, )
)
Defendants. )

 

ORDER DIRECTING CLERK TO DISBURSE FUNDS

 

Pursuant to the Report and Recommendation entered by Magistrate Judge Anderson on
Novernber l(), 2004 and the Order Adopting Magistrate Judge’s Report & Recommendation
entered on December 6, 2004, the Clerk of Court is directed to issue a check in the amount of
$58,250.00 to Friendship Bank, 3080 Highway 51 South, Covington, Tennessee 38019 to pay off

the balance of the home loan on 159 South Haven Drive in Pa;rsons, Tennessee.

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UNIT D STATES DISTRICT GE

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with Rule 58 and,’or_79 (a) FRCF on _rl_'£l;@;_

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 47 in
case 1:99-CV-01031 Was distributed by faX, mail, or direct printing on
July 7, 2005 to the parties listed.

ESSEE

 

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Honorable J. Breen
US DISTRICT COURT

